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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------------- x
  IBRAHIM TURKMEN, AKHIL SACHDEVA, AHMER                                 :
  IQBAL ABBASI, ANSER MEHMOOD, BENAMAR                                   :
  BENATTA, AHMED KHALIFA, SAEED                                          :
  HAMMOUDA, and PURNA RAJ BAJRACHARYA on                                 :       REPORT &
  behalf of themselves and all others similarly situated,                :       RECOMMENDATION
                                                                         :       02-CV-2307 (DLI) (SMG)
                    Plaintiffs,                                          :
                                                                         :
           -against-                                                     :
                                                                         :
  JOHN ASHCROFT, ROBERT MUELLER, JAMES W. :
  ZIGLAR, DENNIS HASTY, MICHAEL ZENK, JAMES :
  SHERMAN, SALVATORE LOPRESTI, and JOSEPH                                :
  CUCITI,                                                                :
                                                                         :
                    Defendants.                                          :
  ---------------------------------------------------------------------- x
  GOLD, STEVEN M., U.S.M.J.:

                                                  INTRODUCTION

           This case arises out of the turbulent days following the September 11, 2001 terrorist

  attacks. In their Fourth Amended Complaint (“FAC”), Docket Entry 726, plaintiffs

  (“detainees”), on behalf of themselves and as representatives of a putative class, assert claims

  under Bivens v. Six Unknown Fed. Narcotics Agents, 403 U.S. 388 (1971) against various federal

  officials, including Warden Dennis Hasty (“Hasty” or “Warden Hasty”), the former warden of

  the Metropolitan Detention Center in Brooklyn, New York (“MDC”), former MDC Captain

  Salvatore LoPresti (“LoPresti”), and former MDC Lieutenant Joseph Cuciti (“Cuciti”).1




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    The caption of this Report mirrors the one in the Fourth Amended Complaint. At this point in the litigation,
  though, only the following plaintiffs have claims pending before the Court: Ahmer Abbasi, Anser Mehmood,
  Benamar Benatta, Ahmed Khalifa, Saeed Hammouda, and Purna Bajracharya. Letter from Rachel Meeropol dated
  February 20, 2018 at 1, Docket Entry 820. These plaintiffs’ remaining claims are asserted only against defendants
  Hasty, LoPresti, and Cuciti. Id.
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         The facts underlying plaintiffs’ claims are set forth in detail in several prior decisions

  rendered during the lengthy procedural history of this case, including Ziglar v. Abbasi, 137 S. Ct.

  1843 (2017) and Turkmen v. Hasty, 789 F.3d 218 (2d Cir. 2015), rev’d in part and vacated in

  part sub nom. Ziglar v. Abbasi, 137 S. Ct. 1843 (2017). Familiarity with those decisions is

  presumed, and the relevant facts are accordingly recounted here only briefly.

         The Fourth Amended Complaint alleges that plaintiffs, each of whom defendants

  believed to be Arab, South Asian, or Muslim, were arrested on immigration violations following

  the September 11, 2001 terrorist attacks. FAC ¶ 1. Plaintiffs were then detained pursuant to a

  “hold-until-cleared” policy promulgated by the Department of Justice and held in the MDC’s

  most restrictive unit, the Administrative Maximum Special Housing Unit (“ADMAX SHU”). Id.

  ¶¶ 2, 4, 53. While held in the ADMAX SHU, plaintiffs were physically and verbally abused. Id.

  ¶ 5. “Guards allegedly slammed detainees into walls; twisted their arms, wrists, and fingers;

  broke their bones; referred to them as terrorists; threatened them with violence; subjected them to

  humiliating sexual comments; and insulted their religion.” Ziglar, 137 S. Ct. at 1853.

         Plaintiffs originally asserted claims against several high-level Executive Branch officials,

  including the then-Attorney General, Director of the FBI, and Commissioner of the Immigration

  Naturalization Services, as well as against several Bureau of Prisons (“BOP”) officials then

  holding positions at the MDC, including two Wardens, an Associate Warden, a Captain, and a

  First Lieutenant (“MDC Officials”). FAC ¶¶ 21-28. Plaintiffs brought what the Supreme Court

  would later term “detention policy claims” against all of the defendants, alleging that official

  policies they adopted violated plaintiffs’ Fourth and Fifth Amendment rights by holding

  plaintiffs in restrictive conditions of confinement and subjecting them to frequent strip searches.

  Ziglar, 137 S. Ct. at 1858-59; FAC ¶¶ 276-83; 292-96.



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         Plaintiffs also brought claims specifically against the MDC Officials for alleged

  violations of their Fourth and Fifth Amendment rights, alleging in essence that these officials

  tolerated abuse of detainees, including plaintiffs, by MDC guards. Of particular relevance here,

  plaintiffs allege that Warden Hasty encouraged lower-level officers to abuse plaintiffs; that he

  prevented detainees “from using normal grievance procedures”; that he avoided the unit where

  the detainees were kept; that he ignored evidence of the abuse, even though he was aware of

  detainee complaints, hunger strikes, and suicide attempts; and that he did not stop or even

  attempt to stop the abuse. Ziglar, 137 S. Ct. at 1864; FAC ¶¶ 77-78; 106-10, 300. In short, in

  what the Supreme Court would later label their “prisoner abuse claim,” a term which this Court

  adopts for purposes of this Report, plaintiffs allege that Warden Hasty was deliberately

  indifferent to abuse of the detainees occurring on his watch. Ziglar, 137 S. Ct. at 1863.

         In Ziglar, the Supreme Court considered whether causes of action for plaintiffs’ detention

  policy and prisoner abuse claims could properly be brought pursuant to its holding in Bivens.

  While the Court held that plaintiffs’ detention policy claims could not proceed under Bivens, it

  did not decide whether Bivens provided a proper basis for plaintiffs’ prisoner abuse claim.

  Instead, noting that the question had not been fully developed by the parties before it, the

  Supreme Court remanded and directed the lower courts to determine the availability of a cause of

  action under Bivens. 137 S. Ct. at 1863, 1865. Accordingly, today, after multiple appeals to the

  Second Circuit and the Supreme Court of the United States, this case now hinges on a narrow

  legal question: whether a Bivens-type cause of action may properly be implied under the Fifth

  Amendment as the basis for plaintiffs’ prisoner abuse claim against former Warden Hasty—and,

  as discussed below, former MDC Captain LoPresti and Lieutenant Cuciti, the only other




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  remaining MDC Official defendants—for their deliberate indifference to the abuse of plaintiffs

  by MDC guards. Id. at 1864-65.

         The Supreme Court remanded this question to the Second Circuit, which in turn issued a

  mandate directing this Court to “consider what remains of all claims in light of the Ziglar

  decision,” and “emphasiz[ing] in particular that the Supreme Court left open the question as to

  whether a Bivens claim may be brought under the Fifth Amendment against the warden of the

  Metropolitan Detention Center.” Mandate at 2, Docket Entry 799.

         As a result, there is now pending before this Court Warden Hasty’s renewed motion to

  dismiss in light of the Supreme Court’s decision in Ziglar. Defendant’s Memorandum in

  Support (“Def.’s Mem.”), Docket Entry 808. Additionally, although defendants LoPresti and

  Cuciti did not appeal to the Second Circuit, see Turkmen, 789 F.3d at 224 n.2, plaintiffs’ claims

  against those defendants are also before the Court. Plaintiffs acknowledge that the legal viability

  of their claims against defendants LoPresti and Cuciti depends upon this Court’s decision with

  respect to defendant Hasty’s motion. See Plaintiffs’ Memorandum of Law in Support of Bivens

  Liability (“Pls.’ Mem.”) at 9, Docket Entry 808-7 (“Plaintiffs accept that the Court’s

  determination of the scope of Bivens liability will apply to their claims against the non-appealing

  Defendants—LoPresti and Cuciti—as well.”).

         Chief United States District Judge Dora L. Irizarry has referred defendant Hasty’s motion

  to me to issue a Report and Recommendation. Order dated January 22, 2018. I heard oral

  argument on the motion on March 15, 2018. Transcript of Oral Argument (“Tr.”), Docket Entry

  829. The parties then submitted supplemental authorities for the Court’s review. Docket Entries

  830-833. Having considered the Supreme Court’s decision in Ziglar and the arguments

  presented by the parties, and for the reasons stated below, I respectfully recommend that



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  defendant Hasty’s motion be granted, and that plaintiffs’ claims against the remaining defendants

  be dismissed.

                                                      BACKGROUND

  I.    From Bivens to Ziglar

          In Bivens, decided in 1971, the Supreme Court recognized a damages remedy for

  violations of the Fourth Amendment’s prohibition on unreasonable searches and seizures by

  federal law enforcement officers. Bivens, 403 U.S. at 391-97. For the Bivens Court, implying a

  cause of action for violations of the Fourth Amendment was simply a natural extension of its

  view that a Court should ensure that every violation of a federally protected right has a remedy.

  Ziglar, 137 S. Ct. at 1855.

          After Bivens, the Court held that a plaintiff could assert an implied cause of action for

  damages directly under the Constitution in only two other cases: Davis v. Passman, 442 U.S. 228

  (1979) and Carlson v. Green, 446 U.S. 14 (1980). Ziglar, 137 S. Ct. at 1854-55. Of particular

  relevance here is Carlson, where the Court recognized a Bivens-type action brought under the

  Eighth Amendment.2 Carlson, 446 U.S. at 18-23. In Carlson, the plaintiff sought damages on

  behalf of her deceased son, a federal inmate. Id. at 16. The plaintiff alleged that federal

  officials’ deliberate indifference to her son’s need for medical care for his asthma led to his

  death. Id. at 16 n.1. These allegations were considered sufficient under Supreme Court

  precedent to state an Eighth Amendment violation. Id. at 17-18, 17 n.3; see also Estelle v.

  Gamble, 429 U.S. 97 (1976). In Carlson, the Court examined whether there were either “special

  factors” counseling hesitation or alternative remedies that would preclude extending Bivens to

  the plaintiff’s Eighth Amendment deliberate indifference claim. Carlson, 446 U.S. at 18-19.


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   Davis v. Passman involved a claim of employment discrimination brought by an administrative assistant to a
  Congressman who contended she was fired because she was a woman. Ziglar, 137 S. Ct. at 1854.

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  Finding neither, the Court extended Bivens and implied a cause of action for damages. Id. at

  18-23. As noted above, it has not done so again in the nearly forty years since Carlson was

  decided.

         Since Carlson, in fact, the Court has altered its perspective on implied rights of action

  under the Constitution, and noted that its “recent precedents cast doubt on the authority of courts

  to extend or create private causes of action.” Jesner v. Arab Bank, PLC, 138 S. Ct. 1386, 1402

  (2018). In Ziglar, the Supreme Court acknowledged the marked change in its approach to

  implying causes of action:

         In the mid-20th century, the Court followed a different approach to recognizing
         implied causes of action than it follows now. During this “ancien regime,” the
         Court assumed it to be a proper judicial function to provide such remedies as are
         necessary to make effective a statute’s purpose.
                                            *       *      *
         Later, the arguments for recognizing implied causes of action for damages began
         to lose their force.
                                            *       *      *
         Given the notable change in the Court’s approach to recognizing implied causes
         of action . . . the Court has made clear that expanding the Bivens remedy is now a
         “disfavored” judicial activity.

  137 S. Ct. at 1855, 1857 (citations and internal quotation marks omitted). The Court in Ziglar

  went so far as to say that, were Bivens, Davis, and Carlson being decided today, the analysis—

  and, presumably, the outcome—might be different. Id. at 1856.

  II.   Determining Whether to Extend Bivens After Ziglar

         The Supreme Court emphasized in Ziglar that the central inquiry when faced with a

  potential expansion of Bivens is “‘who should decide’ whether to provide for a damages remedy,

  Congress or the courts,” and that the answer to that question “most often will be Congress.” Id.

  at 1857 (quoting Bush v. Lucas, 462 U.S. 367, 380 (1983)). “[S]eparation-of-powers principles

  are or should be central to the analysis.” Id.



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          Ziglar instructs that the analysis of whether a Bivens remedy is available proceeds in two

  steps. First, a court must determine whether the plaintiff’s claims are different from those

  asserted in previous Bivens cases, such that the case presents a “new Bivens context.” Id. at

  1859-60. A case presents a “new context” if it is “different in a meaningful way from previous

  Bivens cases decided by [the Supreme Court].” Id. at 1859. The Court listed some relevant

  measures of difference, including the rank of the officers involved, the constitutional right

  asserted, the level of generality of the official action in question, the extent of the judicial

  guidance available to the officer in question, whether the officer was operating under specific

  statutory or other legal mandates, and whether there is a risk that the Judiciary would be

  interfering with the functioning of another branch of the government. Id. at 1860.

          Second, if a case does present a “new Bivens context,” a court must then consider

  whether “there are ‘special factors counselling hesitation in the absence of affirmative action by

  Congress.’” Id. at 1857 (quoting Carlson, 446 U.S. at 18). The Supreme Court has not

  announced a definitive list of those “special factors” that “counsel[] hesitation.” Id. The Court

  has stressed, though, that the question to ask is “whether the Judiciary is well suited, absent

  congressional action or instruction, to consider and weigh the costs and benefits of allowing a

  damages action to proceed.” Id. at 1858. A “special factor” is one that “cause[s] a court to

  hesitate before answering that question in the affirmative.” Id.

          In Ziglar, the Court did identify some criteria for considering whether hesitation is

  warranted. First, it noted that “the decision to recognize a damages remedy requires an

  assessment of its impact on governmental operations systemwide,” which entails examining the

  “burdens on Government employees who are sued personally, as well as the projected costs and

  consequences to the Government itself when . . . the legal system [is] used to bring about the



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  proper formulation and implementation of public policies.” Id. Second, some cases will arise

  “in a context in which Congress has designed its regulatory authority in a guarded way, making

  it less likely that Congress would want the Judiciary to interfere.” Id. It may also be that

  “feature[s] of [the] case—difficult to predict in advance—cause[] a court to pause before acting

  without express congressional authorization.” Id. The Court concluded this aspect of its

  discussion by noting that, “if there are sound reasons to think Congress might doubt the efficacy

  or necessity of a damages remedy as part of the system for enforcing the law and correcting a

  wrong, the courts must refrain from creating the remedy[;]” to do otherwise would fail “to

  respect the role of Congress in determining the nature and extent of federal-court jurisdiction

  under Article III.” Id.

         Finally, when a plaintiff seeks to extend Bivens to a new context, a court should consider

  whether alternative remedies are already available. Id. The existence of an “alternative remedial

  structure . . . alone may limit the power of the Judiciary to infer a new Bivens cause of action.”

  Id.

  III. The Ziglar Court’s Decision Regarding Warden Hasty and Plaintiffs’ “Prisoner
       Abuse” Claim

         The first step in the analysis of plaintiffs’ prisoner abuse claim has already been taken. In

  Ziglar, the Supreme Court held that, although the prisoner abuse claim has “significant parallels”

  to the claims asserted in Carlson, “this case does seek to extend Carlson to a new context.” Id.

  at 1864.

         The Court went on to note that “[t]his case also has certain features that were not

  considered in the Court’s previous Bivens cases and that might discourage a court from

  authorizing a Bivens remedy.” Id. at 1865. First, the Court suggested that plaintiffs may have

  had access to alternative remedies, such as a writ of habeas corpus or an injunction, that would


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  preclude extending Bivens. Id. Second, noting that “legislative action suggesting that Congress

  does not want a damages remedy” is a special factor counseling hesitation, the Court pointed out

  that, since Carlson was decided, Congress passed the Prison Litigation Reform Act of 1995

  (“PLRA”), “which made comprehensive changes to the way prisoner abuse claims must be

  brought in federal court,” but without “provid[ing] for a standalone damages remedy against

  federal jailers.” Id. In short, the Court concluded that the differences between this case and

  Carlson “are at the very least meaningful ones.” Id. Reasoning that “even a modest extension is

  still an extension,” the Court vacated the Second Circuit’s decision that plaintiffs’ prisoner abuse

  claim could proceed, and remanded the case so that a “special factors” analysis could be

  conducted. Id. at 1864-65.

                                              DISCUSSION

         As noted above, the motion now pending before the Court is defendant Hasty’s renewed

  motion to dismiss pursuant to Rule 12(b)(6). When deciding a motion brought under Rule

  12(b)(6), a court may consider “(1) facts alleged in the complaint and documents attached to it or

  incorporated in it by reference, (2) documents ‘integral’ to the complaint and relied upon in it,

  even if not attached or incorporated by reference, (3) documents or information contained in

  defendant’s motion papers if plaintiff has knowledge or possession of the material and relied on

  it in framing the complaint, . . . and (5) facts of which judicial notice may properly be taken

  under Rule 201 of the Federal Rules of Evidence.” Abiuso v. Donahoe, 2015 WL 3487130, at *3

  (E.D.N.Y. June 3, 2015) (quoting In re Merrill Lynch & Co., 273 F. Supp. 2d 351, 356-57

  (S.D.N.Y. 2003)). Here, the complaint incorporates by reference two reports: the Office of the

  Inspector General (“OIG”) report entitled “The September 11 Detainees: A Review of the

  Treatment of Aliens held on Immigration Charges in Connection with the Investigation of the



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   September 11 Attacks” (“OIG Rep.”), FAC ¶ 3 n.1, and a supplemental report entitled

   “Supplemental Report on September 11 Detainees’ Allegations of Abuse at the Metropolitan

   Detention Center in Brooklyn, New York” (“Supp. OIG Rep.”). Id. ¶ 5 n.2. Therefore, the facts

   contained in both reports may be considered when deciding Hasty’s motion. The facts alleged in

   the complaint, moreover, must be taken as true at this stage of the case. Ziglar, 137 S. Ct. at

   1852.

           The gravamen of plaintiffs’ claim against Hasty is that he was deliberately indifferent to

   the abuse of plaintiffs by MDC guards. Ziglar, 137 S. Ct. at 1864; FAC ¶¶ 77-78; 106-10. The

   Supreme Court has already held that “the prisoner abuse allegations against Warden Hasty state a

   plausible ground to find a constitutional violation if a Bivens remedy is to be implied.” Ziglar,

   137 S. Ct. at 1864 (emphasis added). Moreover, as noted above, the Court has also already held

   that plaintiffs’ prisoner abuse claim seeks to extend Bivens and Carlson to a new context.

   Accordingly, the only remaining issue is whether there are “special factors counselling

   hesitation” or alternative remedies that would preclude the extension of Bivens required for

   plaintiffs’ claims to proceed.

           Before considering whether special factors or alternative remedies are present here, I note

   that the parties agree that the strength and number of applicable special factors need not be

   greater before hesitation is warranted in cases involving so-called “modest” extensions as

   opposed to more substantial ones. In other words, the magnitude of a potential extension of

   Bivens does not affect the “special factors analysis.” See Letter from Clifton Elgarten dated

   March 13, 2018 (“Elgarten Letter”) at 1-2, Docket Entry 826; Letter from Rachel Meeropol

   dated March 13, 2018 (“Meeropol Letter”) at 1-2, Docket Entry 827. Accordingly, although the




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   extension here may be a modest one, that has no direct bearing on the analysis of special factors

   and alternative remedies.

   I.     Warden Hasty

        A. Special Factors

           Hasty argues that this case presents “special factors” that counsel hesitation before

   extending Bivens. The special factors identified by Hasty include Congress’s failure to enact a

   law providing a direct cause of action under the Constitution and the disruption to BOP policies

   and practices that a direct cause of action for money damages would cause. Def.’s Mem. at 14.

   Having considered these factors, I reject the contentions of both parties that Congress has either

   endorsed, rejected, or is neutral towards Bivens and its progeny. I further find, though, that this

   case presents a “special factor” counseling hesitation: that extending Bivens might negatively

   impact BOP’s investigatory procedures and policies, and that Congress is as a result in the best

   position to weigh the costs and benefits of allowing a cause of action for damages to proceed.

              Congress’s Silence is Ambiguous

           Hasty argues that Congress’s failure to codify Bivens and enact a damages remedy for

   violations of constitutional rights is a special factor suggesting that the Court should hesitate

   before implying a cause of action. Def.’s Mem. at 19; see also Ziglar, 137 S. Ct. at 1865

   (“[L]egislative action suggesting that Congress does not want a damages remedy is itself a factor

   counseling hesitation.”). Hasty offers three examples of congressional silence that he contends

   counsel hesitation.

           First, Hasty points to Congress’s decision to include in the USA Patriot Act a

   requirement that OIG investigate potential constitutional violations by BOP officials and provide

   semiannual reports to Congress. Def.’s Mem. at 19-20; see also USA Patriot Act, Pub. L. No.



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   107-56, § 1001, 115 Stat. 272, 391 (2001).3 Hasty argues that Congress, while considering this

   provision, could have provided for a private right of action against federal officials for

   deprivations of constitutional rights, but chose not to do so. Def.’s Mem. at 20. In fact, OIG

   continues to report to Congress, and Congress has still not enacted legislation providing for a

   Bivens-like cause of action. See Tr. 8-11.

            Second, Hasty argues that Congress, as a result of the original and supplemental OIG

   reports, was aware of the allegations of abuse at issue in this very case, yet chose not to create a

   damages remedy. Def.’s Mem. at 20; see also Ziglar, 137 S. Ct. at 1862 (“[A]t Congress’

   behest, [OIG] compiled a 300-page report documenting the conditions in the MDC in great

   detail.”). The Court in Ziglar referred to Congress’s failure to provide a damages remedy in the

   wake of the OIG Report as one reason for dismissing plaintiffs’ detention policy claims. Ziglar,

   137 S. Ct. at 1862.

            Plaintiffs counter by arguing that Congress’s silence in the face of these reports in fact

   suggests its tacit approval of extending Bivens and allowing plaintiffs to proceed with their

   claims. Plaintiffs point out that the OIG reports specifically refer to this litigation, and that

   Congress was therefore aware of plaintiffs’ pending prisoner abuse claim. Plaintiffs’ Response

   Memorandum (“Pls.’ Reply”) at 12, Docket Entry 808-9; see also OIG Rep. at 2-3, 3 n.4; 92

   (referring to this lawsuit and noting that the litigation is pending). Because of the ongoing

   litigation, plaintiffs contend, Congress had no reason to step in and provide a damages remedy.

   Pls.’ Reply at 12. Moreover, although made aware of plaintiffs’ pending case and its reliance on




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    The statute cited in the text provides that “[t]he Inspector General of the Department of Justice shall designate one
   official who shall – (1) review information and receive complaints alleging abuses of civil rights and civil liberties
   by employees and officials of the Department of Justice; . . . and (3) submit to the Committee on the Judiciary of the
   House of Representatives and the Committee on the Judiciary of the Senate on a semi-annual basis a report on the
   implementation of this subsection and detailing any abuses described in paragraph (1).”

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   the availability of an implied Bivens-type remedy, Congress passed no legislation narrowing the

   scope of Bivens or the authority of courts to extend Bivens to new contexts.

          Finally, Hasty, echoing the Court in Ziglar, argues that Congress “had specific occasion

   to consider the matter of prisoner abuse and to consider the proper way to remedy those wrongs”

   when it passed the PLRA, fifteen years after Carlson. Def.’s Mem. at 21 (quoting Ziglar, 137 S.

   Ct. at 1865). Though Hasty concedes that the PLRA does not apply to detainees who, like

   plaintiffs, are held as undocumented aliens, he argues that Congress, by passing the PLRA

   without enacting a corresponding Bivens-type cause of action for prisoner abuse claims, has

   indicated its reluctance to extend Bivens to new contexts. Id.; see also 42 U.S.C. § 1997e(h)

   (defining “prisoner” for the purposes of the PLRA as “any person incarcerated or detained in any

   facility who is accused of, convicted of, sentenced for, or adjudicated delinquent for, violations

   of criminal law or the terms and conditions of parole, probation, pretrial release, or diversionary

   program”).

          Plaintiffs argue in response that, because the PLRA does not apply to immigration

   detainees, Congress’s silence with respect to Bivens when it passed the PLRA has no bearing on

   whether Bivens should be expanded to allow plaintiffs’ prisoner abuse claim. Pls.’ Mem. at 18.

   Plaintiffs note as well that the Court in Ziglar did not affirmatively conclude that Congress’s

   silence suggested its reluctance to expand Bivens; plaintiffs correctly point out that the Court

   merely stated that “[i]t could be argued” from the fact that the PLRA “does not provide for a

   standalone damages remedy against federal jailers” that “Congress chose not to extend the

   Carlson damages remedy to cases involving other types of prisoner mistreatment.” Ziglar, 137 S.

   Ct. at 1865.




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          Furthermore, and in this Court’s view more persuasively, plaintiffs argue that, when

   Congress passed the PLRA, it presumed the existence of a Bivens cause of action for prisoner

   abuse. Though at the time the PLRA was passed the Supreme Court had recognized a Bivens

   cause of action for prisoners only in Carlson, many Circuit courts had recognized a variety of

   prisoner and detainee abuse claims under Bivens. Pls.’ Mem. at 20 (listing cases in which Bivens

   was recognized as a vehicle for asserting prisoner and detainee abuse claims). Yet, as plaintiffs

   point out, the PLRA merely imposed an exhaustion requirement on prison condition lawsuits

   brought under federal law; the statute in no way otherwise limits the scope of Bivens-type claims.

   See 42 U.S.C. § 1997e.

          Finally, plaintiffs argue that Congress signaled its approval of Bivens when it amended

   the Federal Tort Claims Act (“FTCA”) by passing the Westfall Act in 1988. Meeropol Letter at

   3-4. The Westfall Act provides that a claim against the United States under the FTCA is the

   exclusive civil remedy for negligent or wrongful acts or omissions by employees of the federal

   government. 28 U.S.C. § 2679(b)(1). The Act also provides, however, that this limitation does

   not apply to “a civil action against an employee of the Government which is brought for a

   violation of the Constitution of the United States.” 28 U.S.C. § 2679(b)(2)(A). Arguably, by

   enacting legislation specifically discussing civil actions against government employees for

   violations of constitutional rights—but declining to eliminate or narrow them—Congress

   implicitly approved of such actions. See Meeropol Letter at 3; see also Ziglar, 137 S. Ct. at

   1880-81 (Breyer, J., dissenting) (arguing that the exception for lawsuits claiming constitutional

   violations in the Westfall Act makes it clear that Congress views the FTCA and Bivens as

   providing “parallel, complementary causes of action” (quoting Carlson, 446 U.S. at 20)); James

   E. Pfander & David Baltmanis, Rethinking Bivens: Legitimacy and Constitutional Adjudication,



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   98 Geo. L.J. 117, 135-36 (2009) (arguing that “[in] the Westfall Act, Congress again chose to

   retain the Bivens action . . . [and that] [b]y accepting Bivens and making it the exclusive mode

   for vindicating constitutional rights, Congress has joined the Court in recognizing the importance

   of the Bivens remedy in our scheme of governmental accountability law”).

           The problem with plaintiffs’ Westfall Act argument is that it failed to persuade the Ziglar

   majority. Plaintiffs candidly acknowledge that they argued before the Supreme Court that the

   Westfall Act essentially ratified Bivens, but that the Ziglar majority did not accept their

   argument. Meeropol Letter at 3. In his dissent, Justice Breyer likewise invoked passage of the

   Westfall Act as an indication of Congress’s “accept[ance of] Bivens actions as part of the law.”

   Ziglar, 137 S. Ct. at 1880 (Breyer, J., dissenting). The Ziglar majority, though, while making

   explicit reference to the Westfall Act, nevertheless held, largely on separation-of-powers

   grounds, that extending Bivens to new contexts is now a “disfavored” judicial activity.” Id. at

   1856-57 (majority opinion). In reaching that conclusion, the Court observed that Congress has

   failed to enact a Bivens-like damages remedy, and that Congress’s “silence is telling.” Id. at

   1862. Clearly, then, the majority in Ziglar—though plainly aware of plaintiffs’ and Justice

   Breyer’s arguments to the contrary—rejected the notion that, by passing the Westfall Act,

   Congress suggested its support for Bivens actions.

           The Ziglar Court relied on Congress’s silence, among other things, to hold that plaintiffs’

   detention policy claims could not proceed under Bivens and should be dismissed. This holding at

   least arguably suggests the same result here; Congress was just as silent with respect to

   plaintiffs’ prisoner abuse claim as it was with respect to their detention policy claims. However,

   in dismissing plaintiffs’ detention policy claims in Ziglar, the Court pointed out that Congress’s

   “silence is notable because it is likely that high-level policies will attract the attention of



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   Congress.” Id. Because plaintiffs’ prisoner abuse claim does not involve “high-level policies,”

   this aspect of Ziglar’s holding is not controlling here.

          Inferring intention from inaction necessarily involves speculation. The degree of

   speculation involved increases greatly when an inference about intent is based upon the inaction

   of a legislative body with hundreds of members, each of whom may have his or her own reasons

   for not acting. Having considered the parties’ arguments, I conclude that the evidence of

   congressional intent here is too ambiguous to provide meaningful support for either side’s

   position. See Wilkie v. Robbins, 551 U.S. 537, 554 (2007) (“It would be hard to infer that

   Congress expected the Judiciary to stay its Bivens hand, but equally hard to extract any clear

   lesson that Bivens ought to spawn a new claim.”). I therefore decline to infer what views

   Congress may have with respect to extending Bivens from its failure to pass a law that either

   provides or precludes a Bivens-type remedy for violations of constitutional rights.

              The Potential Impact on BOP’s Investigatory Procedures and Policies is a Special
              Factor Counseling Hesitation

          Hasty argues that a second factor that should counsel hesitation is the impact that

   recognizing a Bivens cause of action in this case would have on BOP’s procedures for

   investigating and addressing prisoner and detainee abuse claims. See Ziglar, 137 S. Ct. at 1858;

   Def.’s Mem. at 15. More specifically, Hasty points to procedures in place both before and after

   the September 11 terrorist attacks that purposely limited a warden’s role in investigating

   allegations of abuse by correctional officers. Def.’s Mem. at 15. See generally Def.’s Mem.,

   Ex. C, PS 1210.22, Office of Internal Affairs (“OIA”) Memorandum dated October 1, 2001

   (“Ex. C.”), Docket Entry 808-4; Def.’s Mem., Ex. D, PS 1210.17, OIA Memorandum dated

   August 4, 1997 (“Ex. D.”), Docket Entry 808-5.




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            Under the procedures cited by Hasty, physical abuse of a detainee by a correctional

   officer is a “significant incident” (1997 Memorandum) or Classification 1 case (2001

   Memorandum), and threatening assault is a Classification 2 case (2001 Memorandum). Ex. C

   § 7.a-7.b; Ex. D § 6. Under the regulations in effect in 1997, a warden who learned of an

   allegation of physical abuse was required to make a report to OIA, which would then “advise

   how to proceed.” Ex. D § 6.a. Incidents deemed “significant” were referred to OIG for review,

   and the warden would be precluded from taking further action if OIG accepted the case. Id.

   § 6.f.

            New procedures announced on October 1, 2001 require wardens to notify OIA of

   Classification 1 and 2 cases within twenty-four hours of learning about them. Ex. C § 8.b.1.

   These procedures also prohibit wardens or others under their supervision from interviewing or

   questioning the subject of allegations without prior approval from OIG and OIA. Id. § 8.b.3.

   The procedures designate OIA as responsible for overseeing all staff investigations. Id. § 9.

   When presented with allegations in Classification 1 or 2, OIA is required to refer the allegations

   to OIG for review and may refer criminal matters, explicitly including allegations of physical

   abuse, to the Civil Rights Division of the Department of Justice. Id. § 8.c.

            The Bureau of Prisons also directed that certain practices be implemented specifically

   with respect to the September 11 detainees. Def.’s Mem. at 18. Shortly after the attacks, BOP

   directed that video cameras be installed in the cells of each September 11 detainee. Supp. OIG

   Rep. at 39. At least at the MDC, the movements of the September 11 detainees were also

   videotaped beginning on October 5, 2001. Id. As a result of these measures, “incidents and

   allegations of physical and verbal abuse significantly decreased.” Id. at 45 ¶ 5. Finally, as Hasty




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   points out, after October 2001, OIG investigators were present at MDC looking into allegations

   of abuse. OIG Rep. at 144.

          It is reasonable to think that imposing personal liability on a warden who is indifferent to

   abuse by correctional officers under his or her command might impede, or at least affect, the

   efficacy of these practices and procedures. For example, a warden subject to personal liability

   for the acts of correctional officers might fail to report those acts to OIA, or decide to do so only

   after conducting the sort of preliminary inquiry that might influence how an investigation

   unfolds and that BOP procedures—no doubt for that reason—explicitly prohibit. Similarly, a

   warden facing the possibility of personal liability might be less likely to enforce procedures

   requiring video recording of detainee movements, or might neglect to retain and catalogue

   recordings that memorialize abuse.

          The costs to the government of imposing personal liability on wardens for deliberate

   indifference go beyond possible adverse effects on investigations of correctional officer abuse of

   detainees. “Claims against federal officials often create substantial costs, in the form of defense

   and indemnification.” Ziglar, 137 S. Ct. at 1856. Moreover, the time and attention required to

   participate in a litigation as a party may distract supervisory officials, such as wardens, from

   their management responsibilities. Id. Finally, the possibility of being called to account for

   failing to monitor and control the actions of officers under their command might lead wardens to

   adopt supervisory practices and procedures they might otherwise not.

          The threshold for concluding that a factor counsels hesitation “is remarkably low. . . .

   Hesitation is a pause, not a full stop, or an abstention; and to counsel is not to require.

   ‘Hesitation’ is ‘counseled’ whenever thoughtful discretion would pause even to consider.” Arar

   v. Ashcroft, 585 F.3d 559, 574 (2d Cir. 2009). Measured against this “remarkably low” bar, the



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   concerns discussed above—and, in particular, the question of who should decide how those

   concerns should be balanced against affording detainees a cause of action against a supervisory

   official who is deliberately indifferent to abuse—rises to the level of a special factor counseling

   hesitation.

       B. Alternative Remedies

            The Supreme Court has held that “the existence of alternative remedies usually precludes

   a court from authorizing a Bivens action.” Ziglar, 137 S. Ct. at 1858, 1865. Alternative

   remedies were available to plaintiffs in this case, and dismissal is accordingly warranted on this

   ground as well.

                 The FTCA Provides a Sufficient Alternative Remedy

            It is clear that plaintiffs could have asserted their claims for abuse pursuant to the Federal

   Torts Claims Act and, if they were successful, recovered compensation. Indeed, the Third

   Amended Complaint in this very case included claims based upon the conduct of MDC officials,

   including Hasty, for assault and battery, sleep deprivation, and intentional infliction of emotional

   distress, all brought pursuant to the FTCA. Third Amended Complaint ¶¶ 426-40, Docket Entry

   109.4 Five plaintiffs reached settlements with the United States on these FTCA claims. Letter

   from Rachel Meeropol dated November 16, 2009, Ex. A, Docket Entry 687-2 (stipulations

   settling the FTCA claims of five plaintiffs for amounts ranging from $181,250 to $356,250 per

   plaintiff). There does not appear to be any reason why the current plaintiffs could not have

   brought similar claims on their own behalf.5


   4
     Generally, the FTCA’s waiver of sovereign immunity does not apply to claims for assault and battery and certain
   other torts. 28 U.S.C. § 2680(h). This limitation does not apply, however, to law enforcement officers. Id. Bureau
   of Prisons officials are considered law enforcement officers for purposes of this statute. See, e.g., Ali v. Federal
   Bureau of Prisons, 552 U.S. 214, 218-224 (2008); Chapa v. United States Dep’t. of Justice, 339 F.3d 388, 390 (5th
   Cir. 2003); Lewis v. United States, 2005 WL 589583, at *3 (W.D.N.Y. Mar. 8, 2005).
   5
     The record is silent as to why the current plaintiffs did not bring claims under the FTCA. I note, however, that the
   FTCA requires that a plaintiff exhaust administrative remedies within two years after a claim accrues. See 28

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           Plaintiffs’ argument that the FTCA should not be considered an alternative remedy

   precluding a Bivens-type claim rests on language from the holding in Carlson. The Supreme

   Court did state in Carlson that,

           when Congress amended [the] FTCA in 1974 to create a cause of action against
           the United States for intentional torts committed by federal law enforcement
           officers, 28 U.S.C. § 2680(h), the congressional comments accompanying that
           amendment made it crystal clear that Congress views [the] FTCA and Bivens as
           parallel, complementary causes of action.

   Carlson, 446 U.S. at 19-20.

           The analysis in Carlson, though, cannot survive Ziglar. In Carlson, the Court held that a

   Bivens claim is precluded

           when defendants show that Congress has provided an alternative remedy which it
           explicitly declared to be a substitute for recovery directly under the Constitution
           and viewed as equally effective.

   Carlson, 446 U.S. at 18-19 (emphasis in original). In contrast, Ziglar takes a far broader view of

   those alternative remedies that foreclose assertion of a claim under Bivens:

           [I]f Congress has created any alternative, existing process for protecting the
           injured party’s interest that itself may amount to a convincing reason for the
           Judicial Branch to refrain from providing a new and freestanding remedy in
           damages.

   Ziglar, 137 S. Ct. at 1858 (internal alterations and quotation marks omitted). Thus, while the

   absence of an explicit declaration by Congress that the FTCA is intended to be a substitute for

   Bivens may have been dispositive to the Court that decided Carlson, that absence is of little

   significance after Ziglar. No doubt this is among the reasons the Court in Ziglar declared that,

   “in light of the changes to the Court’s general approach to recognizing implied damages




   U.S.C. §§ 2401, 2675. The exhaustion requirement is jurisdictional and cannot be waived. Celestine v. Mount
   Vernon Neighborhood Health Ctr., 403 F.3d 76, 82 (2d Cir. 2005).

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   remedies, it is possible that the analysis in the Court’s three Bivens cases might have been

   different if they were decided today.” Ziglar, 137 S. Ct. at 1856.

          Since Ziglar, other courts have questioned the continued vitality of Carlson’s holding

   that FTCA and Bivens claims may proceed as parallel, complementary causes of action, and have

   declined to permit Bivens claims to proceed because the FTCA provides an adequate alternative

   remedy. See, e.g., Huckaby v. Bradley, 2018 WL 2002790, at *6 (D.N.J. Apr. 30, 2018) (finding

   that “the availability of a remedy against the United States on a claim of negligence under the

   FTCA, in light of Ziglar, is a factor weighing against . . . recognizing a Bivens remedy”), appeal

   filed, No. 18-2204 (3d Cir. June 1, 2018); Abdoulaye v. Cimaglia, 2018 WL 1890488, at *7

   (S.D.N.Y. Mar. 30, 2018) (questioning whether the analysis of the FTCA as an alternative

   remedy in Carlson survives Ziglar and finding that “the existence of the FTCA as a potential

   remedy counsels hesitation in extending a Bivens remedy”); Free v. Peikar, 2018 WL 905388, at

   *5-6 (E.D. Cal. Feb. 15, 2018) (declining to extend Bivens to a First Amendment claim because

   the FTCA provides an adequate alternative remedy), report and recommendation adopted by

   2018 WL 1569030 (E.D. Cal. Mar. 30, 2018); Morgan v. Shivers, 2018 WL 618451, at *5-6

   (S.D.N.Y. Jan. 29, 2018) (declining to extend Bivens to pre-trial detainee’s Fifth Amendment

   excessive force and sexual assault claims because the FTCA provides an alternative remedy).

           Plaintiffs have submitted a letter positing that the Ninth Circuit’s recent decision in

   Rodriguez v. Swartz, 2018 WL3733428 (9th Cir. Aug. 7, 2018), supports their contention that the

   FTCA does not preclude extensions of Bivens to new contexts. Pls.’ Letter Dated August 10,

   2018, Docket Entry 833. Rodriguez involved a claim that a U.S. Border Patrol agent stationed

   on the American side of our border with Mexico fired between fourteen and thirty bullets across

   the border at a sixteen-year-old boy, striking the boy with about ten bullets and killing him. Id.



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   at *1. As plaintiffs suggest, the majority in Rodriguez did opine that Congress did not intend for

   the FTCA, and in particular the Westfall Act, to preclude victims of constitutional torts from

   suing government employees who allegedly violated their constitutional rights. Id. at *11. The

   reasoning in Rodriguez is at least arguably dicta, though, because the majority first concluded

   that the FTCA was not an available alternative remedy because it “specifically provides that the

   United States cannot be sued for claims ‘arising in a foreign country.’” Id. (quoting 28 U.S.C.

   § 2680(k)). To the extent Rodriguez holds that the FTCA does not as a general matter provide an

   alternative remedy to a Bivens claim, I respectfully disagree with that holding for the reasons

   stated above.

          Because plaintiffs could have brought their claims under the FTCA and been awarded

   damages for their injuries if they prevailed, Ziglar counsels that their Bivens claims should be

   dismissed.

                Other Alternative Remedies

          Although I conclude that the availability of a remedy pursuant to the FTCA is sufficient

   to preclude plaintiffs’ Bivens claims, I note that plaintiffs might have invoked other remedies as

   well. For example, at least two courts have taken into account BOP’s administrative grievance

   process when concluding that alternative remedies preclude Bivens claims. Free, 2018 WL

   905388, at *6; Gonzalez v. Hasty, 269 F. Supp. 3d 45, 60 (E.D.N.Y. 2017), appeal filed, No. 17-

   3790 (2d Cir. Nov. 21, 2017). Plaintiffs might also have sought injunctive or habeas relief.

   Indeed, the Supreme Court’s opinion in Ziglar suggests as much. 137 S. Ct. at 1865.

          Plaintiffs raise serious questions about whether the administrative grievance process, or

   the possibility of injunctive or habeas relief, provided them with sufficiently meaningful

   alternative remedies to warrant precluding their Bivens claims. Plaintiffs first argue that

   equitable relief, when compared to a Bivens claim, would not afford them “roughly similar
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   compensation” for their injuries or provide defendants with “roughly similar incentives” to

   respect their constitutional rights. Pls.’ Mem. at 15; see Minneci v. Pollard, 565 U.S. 118, 130

   (2012). But see Gonzalez, 269 F. Supp. 3d at 62 (noting that “there is no precedent suggesting

   that the unavailability of money is a factor that carries any weight in determining the expansion

   of a Bivens remedy. Rather, the emphasis is simply on the existence of an avenue to protect the

   right.”). Plaintiffs are plainly correct that an award of equitable relief would not provide them

   with monetary compensation for violations of their rights that had already occurred, and likely

   would not provide defendants with as strong an incentive to avoid violating constitutional rights

   as would money judgments entered against them personally.

          Plaintiffs also argue that their conditions of confinement precluded them, as a practical

   matter, from filing a grievance or pursuing either injunctive or habeas relief. Pls.’ Mem. at 13.

   Plaintiffs allege that they were not provided with the handbooks that explain to detainees how to

   file an administrative complaint about mistreatment until long after they were taken into custody.

   FAC ¶ 140. Plaintiffs further contend that, until mid-October 2001, they were subjected to a

   “communications blackout,” which denied them social or legal visits or telephone calls. Id.

   ¶¶ 79-81. Plaintiffs further allege that MDC staff “repeatedly turned away any relative or lawyer

   who came to the MDC in search of a detainee by falsely stating that the detainee was not there.”

   Id. ¶ 81. Even after the blackout was lifted, plaintiffs’ ability to make legal and social calls was

   at best severely limited and, in reality, virtually nonexistent. Id. ¶¶ 83-85. As a result, plaintiffs

   argue, they were not able to seek an injunction until April 2002. By that time, plaintiffs had been

   released and their application for injunctive relief was moot. Pls.’ Mem. at 14.

          Defendants dispute plaintiffs’ claim of inability to seek relief prior to April 2002, noting

   that a case based on allegations of abuse similar to those plaintiffs raise here was filed in



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   December of 2001. Defendants’ Reply (“Def.’s Reply”) at 11-12, Docket Entry 808-8; see

   Complaint ¶¶ 14-18, Baloch v. Ashcroft, No. 01-cv-8515 (E.D.N.Y. Dec. 21, 2001), Docket

   Entry 1. The complaint in Baloch, though, largely corroborates plaintiffs’ claims, in that it

   alleges that Baloch was unable to communicate with an attorney, despite his efforts to do so,

   from September 22, 2001, the day he was detained, until some time in November, 2001.

   Complaint ¶¶ 12-15, Baloch v. Ashcroft, No. 01-cv-8515 (E.D.N.Y. Dec. 21, 2001). Baloch’s

   complaint, moreover, was not filed until December 21, 2001, by which time Baloch had been

   detained for three months, and was ultimately dismissed as moot before the Court could decide

   whether relief was warranted. Order Dismissing Case as Moot, Baloch v. Ashcroft, No. 01-cv-

   8515 (E.D.N.Y. June 27, 2002), Docket Entry 4. Finally, the motion pending before the Court is

   one to dismiss, and the factual allegations of plaintiffs’ complaint must therefore be accepted as

   true for purposes of deciding the motion.

             Because I conclude that the FTCA provided plaintiffs with an alternative remedy

   precluding their Bivens claims, I need not decide whether injunctive or habeas relief, or an

   administrative grievance, did as well. Nevertheless, the District Court may not agree that the

   FTCA provides an alternative remedy. I therefore note my conclusion that, for the reasons stated

   above and in light of the particular facts of this case, neither an administrative grievance, a

   motion for injunctive relief, nor a petition for a writ of habeas corpus were sufficiently available

   to plaintiffs to provide them with alternative remedies warranting preclusion of their Bivens

   claims.

      C. District Court Decisions Rendered After Ziglar

             Plaintiffs contend that Ziglar does not restrict Bivens claims as narrowly as the discussion

   above suggests, and should not be read to preclude their abuse claim from proceeding. As

   support, plaintiffs point to three post-Ziglar cases that permitted Bivens claims arising in new
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   contexts to go forward. See generally Cuevas v. United States, 2018 WL 1399910 (D. Colo.

   Mar. 19, 2018), appeal filed No. 18-1219 (10th Cir. May 18, 2018); Leibelson v. Collins, 2017

   WL 6614102 (S.D. W. Va. Dec. 27, 2017), appeal filed sub nom. Leibelson v. Cook No. 18-1202

   (4th Cir. Feb. 23, 2018); Linlor v. Polson, 263 F. Supp. 3d 613 (E.D. Va. 2017).

          The cases cited by plaintiffs are distinguishable because they involve relatively low-level

   individual officers and do not implicate or touch upon prison policy. See Cuevas, 2018 WL

   1399910, at *1-4 (allowing an inmate’s Bivens claim to proceed against BOP correctional

   officers who allegedly relayed sensitive information to other inmates with the intention that they

   retaliate violently against the plaintiff, after finding that “[t]he challenged actions are ordinary

   incidences of day-to-day prison operations, for which there is law clearly establishing that the

   practice is unconstitutional, such that there is no risk that this litigation will tread on complex

   matters of BOP policymaking”); Leibelson, 2017 WL 6614102, at *12-13 (denying summary

   judgment and permitting a Bivens claim to proceed against a BOP captain for alleged

   indifference to the ability of a transgender inmate plaintiff to eat in the prison cafeteria without

   risk of assault); Linlor, 263 F. Supp. 3d at 625 (allowing a Bivens claim to proceed against a

   TSA officer for allegedly using excessive force because the case “present[ed] a relatively simple,

   discrete question of whether a federal officer applied excessive force during a Fourth

   Amendment search”).

          The holdings in two of the cases cited by plaintiffs are distinguishable on other grounds

   as well. In Cuevas, the Court expressly declined to consider whether the FTCA provided

   plaintiff with an alternative remedy because defendants did not argue that it did. Cuevas, 2018

   WL 1399910, at *4 n.4. Similarly, while the Court in Leibelson permitted one of plaintiff’s

   Bivens claims to proceed, it dismissed several others, including one dismissed at least in part



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   because plaintiff was simultaneously pursuing a cause of action under the FTCA based upon

   overlapping allegations. Leibelson, 2017 WL 6614102, at *11.

          There are, moreover, several lower courts decisions dismissing Bivens claims in the wake

   of Ziglar on grounds comparable to those discussed in this Report. In Abdoulaye, for example,

   the Court declined to extend Bivens to a claim against a deputy U.S. Marshal who allegedly

   pushed a wheelchair-bound detainee into a wall, exacerbating the detainee’s back injury.

   Abdoulaye, 2018 WL 1890488, at *1, *7. The Court held that the availability of an alternative

   remedy under the FTCA, and the decision of Congress not to include a stand-alone remedy for

   damages in the PLRA, counseled hesitation and warranted dismissal of the plaintiff’s Bivens

   claim. Id. at *7; see also Free, 2018 WL 905388, at *6 (declining to extend Bivens to an

   inmate’s First Amendment retaliation claim because the FTCA, BOP’s administrative grievance

   process, and habeas corpus are adequate alternative remedies and because congressional silence

   counsels hesitation); Morgan, 2018 WL 618451, at *6-7 (declining to extend Bivens to an

   inmate’s claim of abusive conduct in connection with a search of his rectum because the FTCA

   provides an adequate alternative remedy, because Congress failed to establish a private right of

   action even when legislating in the area of prisoners’ rights, and because “balanc[ing] the

   challenges prison administrators and officers face in maintaining prison security against the

   expansion of [a] private right of action for damages . . . is more appropriately suited for

   Congress, not the Judiciary”); Gonzalez, 269 F. Supp. 3d at 59-62, 65 (declining to extend Bivens

   to an inmate’s Fifth and Eighth Amendment claims with respect to his confinement in MDC’s

   ADMAX SHU because BOP’s administrative grievance process and habeas corpus provided

   adequate alternative remedies, and because Congress has not established a private right of action

   despite being active in the area of prisoners’ rights). These post-Ziglar cases suggest that courts



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   are resistant to efforts to expand Bivens, even when considering claims that do not implicate

   high-level policy concerns, and particularly when those claims arise in prisons or jails.

   II.    Defendants LoPresti and Cuciti

           As noted above, plaintiffs “accept that the Court’s determination of the scope of Bivens

   liability will apply to their claims against the non-appealing defendants—LoPresti and Cuciti—

   as well.” Pls.’ Mem. at 9.

           Insofar as is relevant here, LoPresti was the Captain of the MDC and was responsible for

   supervising all MDC correctional officers, including those assigned to the ADMAX SHU. FAC

   ¶ 27. Plaintiffs allege that LoPresti was frequently present in the ADMAX SHU, reviewed logs,

   and received complaints from plaintiffs and other detainees about ongoing abuse and conditions

   on the unit, yet did nothing to stop the abuse or address the misconduct of officers under his

   supervision. Id. Cuciti was a First Lieutenant at the MDC, where he was responsible for

   processing detainees, escorting them, and overseeing their legal and social visits. Id. ¶ 28. Like

   LoPresti, Cuciti made rounds in the ADMAX SHU, reviewed logs, and received complaints from

   plaintiffs and other detainees about ongoing abuse and adverse conditions on the unit, but did

   nothing to rectify the abuse of which he was aware. Id. In short, plaintiffs claim that LoPresti

   and Cuciti were deliberately indifferent to the abuse of the plaintiffs by other MDC officers.

   Plaintiffs’ Supplemental Brief in Support of Bivens Liability (“Pls.’ Supp.”) at 4-5, Docket Entry

   823.

           LoPresti and Cuciti adopt Hasty’s arguments. Defendant LoPresti’s Memorandum in

   Support of the Motion to Dismiss (“LoPresti Mem.”) at 2, Docket Entry 818.6 They argue that,



   6
     Counsel for LoPresti submitted the memorandum cited in the text on behalf of defendants LoPresti and Cuciti,
   subject to obtaining authorization to appear on Cuciti’s behalf. LoPresti Mem. at 2 n.1. Counsel subsequently filed
   a notice of appearance as attorney for defendant Cuciti. Docket Entry 821.

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   even though LoPresti and Cuciti held ranks lower than Warden, plaintiffs’ allegations against

   them are similar to those made against Warden Hasty. Id. at 4. LoPresti and Cuciti contend that,

   while they were closer in rank to the line officers who are alleged to have abused plaintiffs, they

   did not themselves commit the acts of abuse that underlie plaintiffs’ claims. Id. at 5.

            The discussion above with respect to the availability of the FTCA as an alternative

   remedy forecloses plaintiffs’ Bivens claims against LoPresti and Cuciti. Moreover, the threshold

   for finding a special factor that counsels hesitation is so low that—while the result is less clear

   with respect to LoPresti and Cuciti than it is with respect to Hasty—I conclude that the impact on

   BOP’s investigatory procedures and policies is such a factor. I accordingly recommend that

   plaintiffs’ Bivens claims against defendants LoPresti and Cuciti, like those against defendant

   Hasty, be dismissed.

                                                       CONCLUSION

            The Supreme Court in Ziglar confined Bivens to an extremely narrow space. That space

   is too narrow to accommodate plaintiffs’ remaining abuse claim. Therefore, and for the reasons

   stated above, I respectfully recommend that plaintiffs’ remaining claims be dismissed.

            Any objections to the recommendations made in this Report must be submitted within

   fourteen days after filing of the Report and, in any event, no later than August 27, 2018. See 28

   U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b)(2). Failure to file timely objections may waive the

   right to appeal the District Court’s order. See Small v. Sec’y of Health & Human Servs., 892

   F.2d 15, 16 (2d Cir. 1989) (discussing waiver under the former ten-day limit).

                                                                  /s/
                                                           Steven M. Gold
                                                           United States Magistrate Judge
   Brooklyn, New York
   August 13, 2018
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